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July 30, 2021
VIA ECF

Hon. Tonianne J. Bongiovanni, U.S.M.J.
Clarkson S. Fisher Federal Building

and U.S. Courthouse

402 E. State Street

Trenton, New Jersey 08608

Re: UMG Recordings, Inc. et al, vy. RCN Telecom Services, LLC et al.
Civil Action No. 19-17272 (MAS) (TJB)

Dear Judge Bongiovanni:

This firm, along with our co-counsel Jenner & Block LLP and Stein Mitchell Beato &
Missner LLP, represents Plaintiffs/Counterclaim Defendants (“Plaintiffs”) and Counterclaim
Defendant Recording Industry Association of America, Inc. (“RIAA”) in the referenced
matter. We jointly write with Counterclaim-Defendant Rightscorp, Inc. (“Rightscorp”) to
request an extension of time for Plaintiffs, RIAA, and Rightscorp to file their respective
responses to Defendants’ July 20, 2021 Amended Counterclaim (ECF No. 161) from August 3,
2021 to August 31, 2021.

The primary reason for this extension is that Brad Newberg, counsel for Rightscorp,
intends to file a motion to withdraw from the case this week because he is leaving private
practice, and Rightscorp requires additional time to identify and secure replacement counsel. As
it stands, Rightscorp’s new counsel will not have adequate time to become educated on the case
and respond to Defendants’ Amended Counterclaims.

Defendants RCN Telecom Services, LLC et a/. have consented to the August 31, 2021
extension date, and prefer that Plaintiffs, RIAA, and Rightscorp all respond on that same
proposed due date. We respectfully request the Court’s approval of that extension.

McElroy, Deutsch, Mulvaney & Carpenter, LLP
COLORADO - CONNECTICUT «DELAWARE «FLORIDA -MASSACHUSETTS -NEWJERSBY ~NEW YORK > PENNSYLVANIA - RHODE ISLAND
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‘Kiroy Deutsch
Hon. Tonianne J. Bongiovanni, U.S.M.J.

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We have included a “So Ordered” provision at the end of this letter in the hope that this
extension is acceptable to the Court.

Respectfully yours,
MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP
GEORGE C, JONES

cc: All counsel (via ECF and e-mail)

SO ORDERED this 30th day of _ July , 2021.

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HON. TONIA J. BONGID TAM
United States Magistrate J Nw

McElroy, Deutsch, Mulvaney & Carpenter, LLP
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